
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-03-332-
CV



IN RE JRL PROPERTIES	RELATOR

INTERNATIONAL, INC.

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ORIGINAL PROCEEDING

------------

MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding
, for which let execution issue.



PER CURIAM





PANEL A
:	CAYCE, C.J.; LIVINGSTON, and WALKER, JJ.



DELIVERED November 24, 2003



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




